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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK
                                                       CTA Docket #
UNITED STATES OF AMERICA,
                                                      INDEX TO RECORD ON APPEAL
                -vs-

                                                      6:i5CR-o6io2-ooi
MELVIN FRAZIER,

                         Defendant.
                                                                         District Court
                                                                          Docket Number

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      To date I have not received any of the transcripts necessary for Mr. Frazier's appeal. It is

      our intention to file a Supplemental Index to include other transcripts as deemed

      necessary upon the writing of the appeal.


Dated: July 24, 2018
       Rochester, New York

                                                Respectfully submitted,




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